          Case 1:17-cv-04577-VEC Document 189 Filed 11/09/20 Page 1 of 2




  UNITED STATES DISTRICT COURT
                                                                                                      11/09/2020
  SOUTHERN DISTRICT OF NEW YORK
   --------------------------------------------------------------------------   X
   WEI SU and HAI JUAN WANG,                                                    :
                                                                                :
                                         Plaintiffs,                            :
                                                                                :
                                -against-                                       :
                                                                                :
   SOTHEBY’S, INC.,                                                             :
                                                                                :
                                          Defendant.                            :
   --------------------------------------------------------------------------   :
   SOTHEBY’S, INC.,                                                             :
                                                                                :     17-CV-4577 (VEC)
                                         Counter-Claimant,                      :
                                                                                :    ORDER SCHEDULING
                                -against-                                       :       SETTLEMENT
                                                                                :      CONFERENCE
   WEI SU, HAI JUAN WANG, and YEH YAO HWANG                                     :
                                                                                :
                                         Counterclaim-Defendants,               :
                                                                                :
   --------------------------------------------------------------------------   :
   YEH YAO HWANG,                                                               :
                                                                                :
                                         Cross-Claimant,                        :
                                                                                :
                                -against-                                       :
                                                                                :
   WEI SU and HAI JUAN WANG,                                                    :
                                                                                :
                                          Cross-Defendants.                     :
   --------------------------------------------------------------------------   X

KATHARINE H. PARKER, UNITED STATES MAGISTRATE JUDGE

        A telephonic settlement conference in this matter is scheduled for Monday, January 25, 2021 at

10:00 a.m. Counsel for the parties are directed to call Judge Parker’s court conference line at the

scheduled time. Please dial (866) 434-5269, Access code: 4858267. Clients must participate in this
         Case 1:17-cv-04577-VEC Document 189 Filed 11/09/20 Page 2 of 2



conference. Corporate parties must send the person with decision making authority to settle the

matter to the conference. The parties are instructed to complete the Settlement Conference Summary

Report and prepare pre-conference submissions in accordance with the Judge Parker’s Individual Rules

of Practice. Pre-conference submissions must be received by the Court no later than January 18, 2021

by 5:00 p.m.

       SO ORDERED.

Dated: November 9, 2020
       New York, New York

                                                       ______________________________
                                                       KATHARINE H. PARKER
                                                       United States Magistrate Judge
